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 7   ATTORNEYS FOR DEFENDANT
     PETER KIRITCHENKO
 8

 9                                   UNITED STATES DISTRICT COURT

10                                NORTHERN DISTRICT OF CALIFORNIA

11
     IRMA RAMIREZ; DAREN HEATHERLY;                        Case No. 3:14-cv-03622-JSC
12   and HARRISON BENSON KINNEY JR.,
13
                            Plaintiffs,                    ANSWER OF DEFENDANT PETER
14                                                         KIRITCHENKO TO COMPLAINT
            v.
15                                                         JURY TRIAL DEMANDED
     PACIFIC CATCH, INC., a California
16
     Corporation d/b/a/ PACIFIC CATCH; PETER
17   N. KIRITCHENKO; and ISABELLA G.
     KIRITCHENKO,
18
                            Defendants.
19

20

21          Defendant Peter Kiritchenko hereby answers the complaint of plaintiffs Irma Ramirez,

22   Darren Heatherly, and Harrison Benson Kinney, Jr. (“Plaintiffs”) filed September 18, 2014 (the

23   “Complaint”), as follows:

24                                             INTRODUCTION

25          1.      Peter Kiritchenko admits that Plaintiffs purport to assert a civil rights action under the

26   Americans With Disabilities Act of 1990 (the “ADA”), California Civil Code §§ 51, 51.5 and 51.4,

27   et. seq.; and California Health & Safety Code § 19955 et. seq., for alleged failure to remove

28   architectural barriers structural in nature at the Pacific Catch restaurant. Peter Kiritchenko is without
                                                          1
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 1   sufficient knowledge or information to form a belief as the truth of the remaining allegations in
 2   paragraph 1 of the complaint, and on that basis denies each and every allegation contained therein.
 3          2.      In answer to paragraph 2 of the complaint, Peter Kiritchenko is without sufficient
 4   knowledge or information to form a belief as to the truth of the allegations contained in said
 5   paragraph, and on that basis denies each and every allegation contained therein.
 6                                              JURISDICTION
 7          3.      In answer to paragraph 3 of the complaint, Peter Kiritchenko admits that this Court
 8   has jurisdiction with respect to claims under the ADA, and accordingly admits that since Plaintiffs
 9   purport to assert such a claim this Court has jurisdiction with respect to that claim.
10   Peter Kiritchenko further admits that since Plaintiffs purport to assert claims under the referenced
11   state law provisions based on the same operative facts as the ADA claim, this Court has
12   supplemental jurisdiction under 28 U.S.C. § 1367(a) with respect to those estate law claims. Except
13   as specifically admitted, Peter Kiritchenko generally denies each and every allegation of paragraph 3
14   of the Complaint based on lack of sufficient information and belief.
15          4.      Peter Kiritchenko admits paragraph 4 of the Complaint.
16          5.      In answer to paragraph 5 of the Complaint, Peter Kiritchenko is without sufficient
17   knowledge or information sufficient to form a belief with respect to the allegations of paragraph 5 of
18   the Complaint, and on that basis denies each and every allegation of that paragraph.
19          6.      In answer to paragraph 6 of the complaint, Peter Kiritchenko is without sufficient
20   knowledge or information sufficient to form a belief with respect to the allegations of paragraph 6 of
21   the Complaint, and on that basis denies each and every allegation of that paragraph.
22          7.      In answer to paragraph 7 of the Complaint, Peter Kiritchenko admits that paragraph 7
23   of the Complaint correctly recites an extract from § 302(b)(1)(E) of the ADA. Except as specifically
24   admitted, Peter Kiritchenko is without sufficient knowledge or information sufficient to form a belief
25   with respect to the allegations of paragraph 7 of the Complaint, and on that basis denies each and
26   every allegation of that paragraph.
27          8.      In answer to paragraph 8 of the Complaint, Peter Kiritchenko lacks sufficient
28   information and belief as to the correctness of the definitions, and therefore denies that such
                                                         2
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 1   definitions accurately state the legal meanings of the defined terms.
 2          9.      In answer to paragraph 9 of the Complaint, Peter Kiritchenko admits he is the
 3   landlord of the property at 2027 Chestnut Street.
 4          10.     In answer to paragraph 10 of the Complaint, Peter Kiritchenko admits he is the
 5   landlord of the premises in question and that Pacific Catch is the tenant and owner and operator of
 6   the restaurant on the premises.
 7          11.     In answer to paragraph 11 of the Complaint, Peter Kiritchenko admits that the
 8   restaurant business of Pacific Catch that is conducted at 2027 Chestnut Street, San Francisco is open
 9   to the general public, but denies that he or Isabella Kiritchenko was an operator or joint venturer
10   regarding the business. Peter Kiritchenko is without sufficient knowledge or information to form a
11   belief as to the truth of the remaining allegations contained in said paragraph, and on that basis
12   denies each and every allegation contained therein.
13          12.     In answer to paragraph 12 of the Complaint, Peter Kiritchenko admits that the
14   restaurant business of Pacific Catch that is conducted at 2027 Chestnut Street, San Francisco is open
15   to the general public, but denies he or Isabella Kiritchenko was an owner, operator or joint venture in
16   the restaurant business. Peter Kiritchenko further admits that paragraph 12 of the Complaint
17   correctly recites part §36.201 of 28 CFR. Peter Kiritchenko is without sufficient knowledge or
18   information to form a belief as to the truth of the remaining allegations contained in said paragraph,
19   and on that basis denies each and every allegation contained therein.
20                             PRELIMINARY FACTUAL ALLEGATIONS
21          13.     In answer to paragraph 13 of the Complaint, Peter Kiritchenko admits that the
22   restaurant business of Pacific Catch that is conducted at 2027 Chestnut Street, San Francisco is a
23   public accommodation. Except as so admitted, Peter Kiritchenko is without sufficient knowledge
24   or information to form a belief as to the truth of the allegations contained in said paragraph, and on
25   that basis denies each and every allegation contained therein.
26          14.     In answer to paragraph 14 of the Complaint, Peter Kiritchenko admits that during
27   2003 it commenced the restaurant business of Pacific Catch that is conducted at 2027 Chestnut
28   Street, San Francisco, but denies he and Isabella Kiritchenko was owner or possessor of the
                                                        3
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 1   restaurant business. Except as so admitted, Peter Kiritchenko is without sufficient knowledge or
 2   information to form a belief as to the truth of the allegations contained in said paragraph, and on
 3   that basis denies each and every allegation contained therein.
 4          15.     In answer to paragraph 15 of the Complaint, Peter Kiritchenko is without sufficient
 5   knowledge or information to form a belief as to the truth of the allegations contained in said
 6   paragraph, and on that basis denies each and every allegation contained therein.
 7          16.     In answer to paragraph 16 of the Complaint, Peter Kiritchenko is without sufficient
 8   knowledge or information to form a belief as to the truth of the allegations contained in said
 9   paragraph, and on that basis denies each and every allegation contained therein.
10          17.     In answer to paragraph 17 of the Complaint, Peter Kiritchenko is without sufficient
11   knowledge or information to form a belief as to the truth of the allegations contained in said
12   paragraph, and on that basis denies each and every allegation contained therein.
13          18.     In answer to paragraph 18 of the Complaint, Peter Kiritchenko is without sufficient
14   knowledge or information to form a belief as to the truth of the allegations contained in said
15   paragraph, and on that basis denies each and every allegation contained therein.
16          19.     In answer to paragraph 19 of the Complaint, Peter Kiritchenko admits that plaintiffs
17   sent letters dated March 14, 2014 and April 9, 2014. Except as thus admitted, Peter Kiritchenko
18   denies each and every allegation of paragraph 19 of the Complaint
19          20.     In answer to paragraph 20 of the Complaint, Peter Kiritchenko is without sufficient
20   knowledge or information to form a belief as to the truth of the allegations contained in said
21   paragraph, and on that basis denies each and every allegation contained therein.
22          21.     In answer to paragraph 21 of the Complaint, Peter Kiritchenko is without sufficient
23   knowledge or information to form a belief as to the truth of the allegations contained in said
24   paragraph, and on that basis denies each and every allegation contained therein.
25          22.     In answer to paragraph 22 of the Complaint, Peter Kiritchenko is without sufficient
26   knowledge or information to form a belief as to the truth of the allegations contained in said
27   paragraph, and on that basis denies each and every allegation contained therein.
28   ///
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 1          23.     In answer to paragraph 23 of the Complaint, Peter Kiritchenko is without sufficient
 2   knowledge or information to form a belief as to the truth of the allegations contained in said
 3   paragraph, and on that basis denies each and every allegation contained therein.
 4          24.     In answer to paragraph 24 of the Complaint, Peter Kiritchenko admits receiving the
 5   letter that forms part of Exhibit “A” to the Complaint, and is addressed to the “Manager of Pacific
 6   Catch.” Except as so admitted, Peter Kiritchenko is without sufficient knowledge or information to
 7   form a belief as to the truth of the remaining allegations contained in said paragraph, and on that
 8   basis denies each and every allegation contained therein.
 9          25.     In answer to paragraph 25 of the Complaint, Peter Kiritchenko lacks sufficient
10   information or belief and therefore denies this allegation.
11          26.     In answer to paragraph 26 of the Complaint, Peter Kiritchenko lacks sufficient
12   information and belief and therefore denies this allegation.
13          27.     In answer to paragraph 27 of the Complaint, Peter Kiritchenko is without sufficient
14   knowledge or information to form a belief as to the truth of the allegations contained in said
15   paragraph, and on that basis denies each and every allegation contained therein.
16          28.     In answer to paragraph 28 of the Complaint, Peter Kiritchenko is without sufficient
17   knowledge or information to form a belief as to the truth of the allegations contained in said
18   paragraph, and on that basis denies each and every allegation contained therein.
19          29.     In answer to paragraph 29 of the Complaint, Peter Kiritchenko is without sufficient
20   knowledge or information to form a belief as to the truth of the allegations contained in said
21   paragraph, and on that basis denies each and every allegation contained therein.
22          30.     In answer to paragraph 30 of the Complaint, Peter Kiritchenko is without sufficient
23   knowledge or information to form a belief as to the truth of the allegations contained in said
24   paragraph, and on that basis denies each and every allegation contained therein.
25          31.     In answer to paragraph 31 of the Complaint, Peter Kiritchenko is without sufficient
26   knowledge or information to form a belief as to the truth of the allegations contained in said
27   paragraph, and on that basis denies each and every allegation contained therein.
28   ///
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 1          32.     In answer to paragraph 32 of the Complaint, Peter Kiritchenko is without sufficient
 2   knowledge or information to form a belief as to the truth of the allegations contained in said
 3   paragraph, and on that basis denies each and every allegation contained therein.
 4          33.     In answer to paragraph 33 of the Complaint, Peter Kiritchenko is without sufficient
 5   knowledge or information to form a belief as to the truth of the allegations contained in said
 6   paragraph, and on that basis denies each and every allegation contained therein.
 7          34.     In answer to paragraph 34 of the Complaint, Peter Kiritchenko is without sufficient
 8   knowledge or information to form a belief as to the truth of the allegations contained in said
 9   paragraph, and on that basis denies each and every allegation contained therein.
10          35.     In answer to paragraph 35 of the Complaint, Peter Kiritchenko is without sufficient
11   knowledge or information to form a belief as to the truth of the allegations contained in said
12   paragraph, and on that basis denies each and every allegation contained therein.
13          36.     In answer to paragraph 36 of the Complaint, Peter Kiritchenko is without sufficient
14   knowledge or information to form a belief as to the truth of the allegations contained in said
15   paragraph, and on that basis denies each and every allegation contained therein.
16          37.     In answer to paragraph 37 of the Complaint, Peter Kiritchenko is without sufficient
17   knowledge or information to form a belief as to the truth of the allegations contained in said
18   paragraph, and on that basis denies each and every allegation contained therein.
19          38.     In answer to paragraph 38 of the Complaint, Peter Kiritchenko is without sufficient
20   knowledge or information to form a belief as to the truth of the allegations contained in said
21   paragraph, and on that basis denies each and every allegation contained therein.
22          39.     In answer to paragraph 39 of the Complaint, Peter Kiritchenko is without sufficient
23   knowledge or information to form a belief as to the truth of the allegations contained in said
24   paragraph, and on that basis denies each and every allegation contained therein.
25          40.     In answer to paragraph 40 of the Complaint, Peter Kiritchenko denies that
26   defendants intended not to comply with the Americans with Disabilities Act of 1990. Except as
27   thus specifically denied, Peter Kiritchenko is without sufficient knowledge or information to form a
28   belief as to the truth of the allegations contained in said paragraph, and on that basis denies each
                                                          6
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 1   and every allegation contained therein.
 2          41.     Peter Kiritchenko lacks sufficient information and belief and therefore denies this
 3   allegation.
 4          42.     In answer to paragraph 42 of the Complaint, denied as to Peter Kiritchenko and
 5   Isabella Kiritchenko, denied on lack of information and belief as to Pacific Catch.
 6          43.     In answer to paragraph 43 of the Complaint, denied as to Peter Kiritchenko and
 7   Isabella Kiritchenko, denied on lack of information and belief as to Pacific Catch.
 8          44.     In answer to paragraph 44 of the Complaint, denied.
 9          45.     In answer to paragraph 45 of the Complaint, Peter Kiritchenko is without sufficient
10   knowledge or information to form a belief as to the truth of the allegations contained in said
11   paragraph, and on that basis denies each and every allegation contained therein.
12          46.     In answer to paragraph 46 of the Complaint, Peter Kiritchenko is without sufficient
13   knowledge or information to form a belief as to the truth of the allegations contained in said
14   paragraph, and on that basis denies each and every allegation contained therein.
15          47.     In answer to paragraph 47 of the Complaint, Peter Kiritchenko is without sufficient
16   knowledge or information to form a belief as to the truth of the allegations contained in said
17   paragraph, and on that basis denies each and every allegation contained therein.
18          48.     In answer to paragraph 48 of the Complaint, Peter Kiritchenko is without sufficient
19   knowledge or information to form a belief as to the truth of the allegations contained in said
20   paragraph, and on that basis denies each and every allegation contained therein.
21          49.     In answer to paragraph 49 of the Complaint, Peter Kiritchenko denies that it has
22   failed to remove alleged architectural barriers and that the restaurant currently presents the same
23   “general harmful conditions” that allegedly existed at the time of Plaintiffs’ alleged visits. Peter
24   Kiritchenko is without sufficient knowledge or information to form a belief as to the truth of the
25   remaining allegations contained in said paragraph, and on that basis denies each and every
26   allegation contained therein.
27          50.     In answer to paragraph 50 of the Complaint, Peter Kiritchenko denies that it has
28   failed to remove alleged architectural barriers and that the restaurant currently presents the same
                                                        7
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 1   “general harmful conditions” that allegedly existed at the time of Plaintiffs’ alleged visits.
 2   Peter Kiritchenko is without sufficient knowledge or information to form a belief as to the truth of
 3   the remaining allegations contained in said paragraph, and on that basis denies each and every
 4   allegation contained therein.
 5          51.     In answer to paragraph 51 of the Complaint, Peter Kiritchenko is without sufficient
 6   knowledge or information to form a belief as to the truth of the allegations contained in said
 7   paragraph, and on that basis denies each and every allegation contained therein.
 8          52.     In answer to paragraph 52 of the Complaint, Peter Kiritchenko is without sufficient
 9   knowledge or information to form a belief as to the truth of the allegations contained in said
10   paragraph, and on that basis denies each and every allegation contained therein.
11          53.     In answer to paragraph 53 of the Complaint, Peter Kiritchenko is without sufficient
12   knowledge or information to form a belief as to the truth of the allegations contained in said
13   paragraph, and on that basis denies each and every allegation contained therein.
14          54.     In answer to paragraph 54 of the Complaint, denied.
15          55.     In answer to paragraph 55 of the Complaint, Peter Kiritchenko is without sufficient
16   knowledge or information to form a belief as to the truth of the allegations contained in said
17   paragraph, and on that basis denies each and every allegation contained therein.
18          56.     In answer to paragraph 56 of the Complaint, Peter Kiritchenko admits that plaintiffs
19   Ramirez and Heatherly seek injunctive relief, but deny that either of them is entitled to any such
20   relief. Except as so admitted, Peter Kiritchenko generally denies each and every allegation of
21   paragraph 56 of the Complaint.
22          57.     In answer to paragraph 57 of the Complaint, Peter Kiritchenko is without sufficient
23   knowledge or information to form a belief as to the truth of the allegations contained in said
24   paragraph, and on that basis denies each and every allegation contained therein, generally denies
25   each and every allegation thereof.
26          58.     In answer to paragraph 58 of the Complaint, Peter Kiritchenko is without sufficient
27   knowledge or information to form a belief as to the truth of the factual allegations contained in said
28   paragraph, and on that basis denies each and every allegation contained therein.
                                                      8
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 1          59.     In answer to paragraph 59 of the Complaint, Peter Kiritchenko is without sufficient
 2   knowledge or information to form a belief as to the truth of the allegations contained in said
 3   paragraph, and on that basis denies each and every allegation contained therein.
 4          60.     In answer to paragraph 60 of the Complaint, Peter Kiritchenko is without sufficient
 5   knowledge or information to form a belief as to the truth of the allegations contained in said
 6   paragraph, and on that basis denies each and every allegation contained therein.
 7          61.     In answer to paragraph 61 of the Complaint, Peter Kiritchenko is without sufficient
 8   knowledge or information to form a belief as to the truth of the allegations contained in said
 9   paragraph, and on that basis denies each and every allegation contained therein.
10                                      FIRST CAUSE OF ACTION
11          62.     Peter Kiritchenko realleges and incorporates by this reference its response to the
12   allegations of paragraphs 1 through 61 of the Complaint.
13          63.     In answer to paragraph 63 of the Complaint, Peter Kiritchenko admits that paragraph
14   63 of the Complaint recites portions of 42 U.S.C. § 12101(a). Except as thus admitted,
15   Peter Kiritchenko denies each and every allegation of paragraph 63 of the Complaint.
16          64.     In answer to paragraph 64 of the Complaint, Peter Kiritchenko admits that paragraph
17   64 of the Complaint recites the substance of 42 U.S.C. § 12101(b). Except as so admitted,
18   Peter Kiritchenko denies each and every allegation of paragraph 64 of the Complaint.
19          65.     In answer to paragraph 65 of the Complaint, Peter Kiritchenko admits that paragraph
20   65 of the Complaint recites portions of 42 U.S.C. § 12181(7). Except as so admitted,
21   Peter Kiritchenko denies each and every allegation of paragraph 65 of the Complaint.
22          66.     In answer to paragraph 66 of the Complaint, Peter Kiritchenko admits that paragraph
23   66 of the Complaint recites portions of 42 U.S.C. § 12182. Except as so admitted,
24   Peter Kiritchenko denies each and every allegation of paragraph 66 of the Complaint.
25          67.     In answer to paragraph 67 of the Complaint, Peter Kiritchenko admits that paragraph
26   66 of the complaint recites provisions of §302(b)(2)(10, 42 U.S.C. §1281(b)(2)(1). Except as thus
27   specifically admitted, Peter Kiritchenko generally denies each and every allegation of paragraph 67
28   of the Complaint.
                                                        9
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 1          68.     In answer to paragraph 68 of the Complaint, Peter Kiritchenko denies that removal
 2   of all alleged barriers complained of by Plaintiffs was “readily achievable.” Except as thus
 3   specifically admitted, Peter Kiritchenko generally denies each and every allegation of paragraph 68
 4   of the Complaint.
 5          69.     In answer to paragraph 69 of the Complaint, Peter Kiritchenko admits that paragraph
 6   69 of the Complaint recites portions of 42 U.S.C. § 12181(9) with substantial accuracy. Except as
 7   thus specifically admitted, Peter Kiritchenko generally denies each and every allegation of
 8   paragraph 69 of the Complaint.
 9          70.     In answer to paragraph 70 of the Complaint, Peter Kiritchenko is without sufficient
10   knowledge or information to form a belief as to the truth of the allegations contained in said
11   paragraph, and on that basis denies each and every allegation contained therein.
12          71.     In answer to paragraph 70 of the Complaint, Peter Kiritchenko is without sufficient
13   knowledge or information to form a belief as to the truth of the allegations contained in said
14   paragraph, and on that basis denies each and every allegation contained therein.
15          72.     In answer to paragraph 71 of the complaint Peter Kiritchenko admits the first and
16   last sentences of paragraph 72 of the Complaint. Except as so specifically admitted, Peter
17   Kiritchenko is without sufficient knowledge or information to form a belief as to the truth of the
18   allegations contained in said paragraph, and on that basis denies each and every allegation
19   contained therein.
20          73.     In answer to paragraph 73 of the Complaint, Peter Kiritchenko admits that each
21   plaintiff seeks the alleged relief. Except as so specifically admitted, Peter Kiritchenko is without
22   sufficient knowledge or information to form a belief as to the truth of the allegations contained in
23   said paragraph, and on that basis denies each and every allegation contained therein.
24                                     SECOND CAUSE OF ACTION
25          74.     Peter Kiritchenko realleges and incorporates by this reference its responses to the
26   allegations of paragraphs 1 through 73 of the Complaint.
27          75.     In answer to paragraph 75 of the Complaint, Peter Kiritchenko admits that paragraph
28   75 of the Complaint recites California Civil Code § 54(a).
                                                      10
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 1           76.    In answer to paragraph 76 of the Complaint, Peter Kiritchenko admits that paragraph
 2   76 of the Complaint recites California Civil Code § 54.1(a)(1).
 3           77.    In answer to paragraph 77 of the Complaint, Peter Kiritchenko admits that paragraph
 4   77 of the Complaint recites California Civil Code § 54.1(d).
 5           78.    In answer to paragraph 78 of the Complaint, Peter Kiritchenko is without sufficient
 6   knowledge or information to form a belief as to the truth of the allegations contained in said
 7   paragraph, and on that basis denies each and every allegation contained therein.
 8           79.    In answer to paragraph 79 of the Complaint, Peter Kiritchenko is without sufficient
 9   knowledge or information to form a belief as to the truth of the allegations contained in said
10   paragraph, and on that basis denies each and every allegation contained therein.
11           80.     In answer to paragraph 80 of the Complaint, Peter Kiritchenko is without sufficient
12   knowledge or information to form a belief as to the truth of the allegations contained in said
13   paragraph, and on that basis denies each and every allegation contained therein.
14           81.     In answer to paragraph 81 of the Complaint, Peter Kiritchenko is without sufficient
15   knowledge or information to form a belief as to the truth of the allegations contained in said
16   paragraph, and on that basis denies each and every allegation contained therein.
17           82.    In answer to paragraph 82 of the Complaint, Peter Kiritchenko is without sufficient
18   knowledge or information to form a belief as to the truth of the allegations contained in said
19   paragraph, and on that basis denies each and every allegation contained therein.
20           83.    In answer to paragraph 83 of the Complaint, Peter Kiritchenko is without sufficient
21   knowledge or information to form a belief as to the truth of the allegations contained in said
22   paragraph, and on that basis denies each and every allegation contained therein.
23           84.    In answer to paragraph 84 of the Complaint, Peter Kiritchenko is without sufficient
24   knowledge or information to form a belief as to the truth of the allegations contained in said
25   paragraph, and on that basis denies each and every allegation contained therein.
26           85.    In answer to paragraph 85 of the Complaint, Peter Kiritchenko denies each and
27   every allegation therein.
28   ///
                                                       11
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 1                                       THIRD CAUSE OF ACTION
 2           86.     Peter Kiritchenko realleges and incorporates by this reference its responses to the
 3   allegations of paragraphs 1 through 85 of the Complaint.
 4           87.     In answer to paragraph 87 of the Complaint, Peter Kiritchenko admits that paragraph
 5   87 of the Complaint recites a portion of California Health and Safety Code § 19955.
 6           88.     In answer to paragraph 88 of the Complaint, Peter Kiritchenko admits that paragraph
 7   88 of the Complaint recites a portion of Health and Safety Code § 19956. Except as so specifically
 8   admitted, Peter Kiritchenko is without sufficient knowledge or information to form a belief as to
 9   the truth of the allegations contained in said paragraph, and on that basis denies each and every
10   allegation contained therein.
11           89.     In answer to paragraph 89 of the Complaint, Peter Kiritchenko is without sufficient
12   knowledge or information to form a belief as to the truth of the allegations contained in said
13   paragraph, and on that basis denies each and every allegation contained therein.
14           90.     In answer to paragraph 90 of the Complaint, Peter Kiritchenko admits that
15   California Health & Safety Code Section 19955 generally provides that “public accommodation or
16   facilities” means a
17           building, structure, facility, complex, or improved area which is used by the general public
18   and shall include auditoriums, hospitals, theaters, restaurants, hotels, motels, stadiums, and
19   convention centers.”
20           91.     In answer to paragraph 91 of the Complaint, Peter Kiritchenko is without sufficient
21   knowledge or information to form a belief as to the truth of the allegations contained in said
22   paragraph, and on that basis denies each and every allegation contained therein.
23           92.     In answer to paragraph 92 of the Complaint, Peter Kiritchenko denies each and
24   every allegation thereof.
25           93.     In answer to paragraph 93 of the Complaint, Peter Kiritchenko admits that Plaintiffs
26   seeks injunctive relief, but denies that any plaintiff is entitled to such relief.
27   ///
28   ///
                                                          12
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 1                                    FOURTH CAUSE OF ACTION
 2           94.    Peter Kiritchenko realleges and incorporates by this reference its responses to the
 3   allegations of paragraphs 1 through 93 of the Complaint.
 4           95.    Peter Kiritchenko admits that paragraph 95 of the Complaint recites California Civil
 5   Code § 51. Except as so specifically admitted, Peter Kiritchenko generally denies each and every
 6   remaining allegation of paragraph 95 of the Complaint.
 7           96.    Peter Kiritchenko admits that paragraph 96 of the Complaint recites California Civil
 8   Code § 51.5, with the exception of that section’s subdivision designations. Except as so
 9   specifically admitted, Peter Kiritchenko denies each and every remaining allegation of paragraph
10   96 of the Complaint.
11           97.    In answer to paragraph 97 of the Complaint, Peter Kiritchenko is without sufficient
12   knowledge or information to form a belief as to the truth of the allegations contained in said
13   paragraph, and on that basis denies each and every allegation contained therein.
14           98.    In answer to paragraph 98 of the Complaint, Peter Kiritchenko is without sufficient
15   knowledge or information to form a belief as to the truth of the allegations contained in said
16   paragraph, and on that basis denies each and every allegation contained therein.
17           99.    In answer to paragraph 99 of the Complaint, Peter Kiritchenko is without sufficient
18   knowledge or information to form a belief as to the truth of the allegations contained in said
19   paragraph, and on that basis denies each and every allegation contained therein.
20           100.   In answer to paragraph 100 of the Complaint, Peter Kiritchenko is without sufficient
21   knowledge or information to form a belief as to the truth of the allegations contained in said
22   paragraph, and on that basis denies each and every allegation contained therein.
23           101.   In answer to paragraph 101 of the Complaint, Peter Kiritchenko is without sufficient
24   knowledge or information to form a belief as to the truth of the allegations contained in said
25   paragraph, and on that basis denies each and every allegation contained therein.
26           102.   In answer to paragraph 102 of the Complaint, Peter Kiritchenko denies each and
27   every allegation thereof.
28   ///
                                                       13
                        ANSWER OF DEFENDANT PETER KIRITCHENKO TO COMPLAINT
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 1                                    FIRST AFFIRMATIVE DEFENSE
 2           AS AND FOR A FIRST, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
 3   ALLEGES:
 4           Plaintiffs have failed to mitigate their damages, and to the extent of their failure to mitigate,
 5   any damages awarded to Plaintiffs should be reduced accordingly.
 6                                  SECOND AFFIRMATIVE DEFENSE
 7           AS AND FOR A SECOND, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
 8   ALLEGES:
 9           The subject facilities have not undergone construction and/or alterations, structural repairs,
10   or additions and therefore are not subject to the disabled access requirements during Pacific’s
11   tenancy. Assuming arguendo alternations have been made, the accessibility requirements are only
12   applicable to the area of specific alteration, structural repair or addition and not the entire facility
13   [Health & Safety Code § 19959].
14                                   THIRD AFFIRMATIVE DEFENSE
15           AS AND FOR A THIRD, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
16   ALLEGES:
17           Plaintiffs assumed the risk of any injuries and/or damages resulting from the matters set
18   forth in their complaint. The assumption of risk by Plaintiffs was a cause of their alleged injuries
19   and/or damages.
20                                  FOURTH AFFIRMATIVE DEFENSE
21           AS AND FOR A FOURTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
22   ALLEGES:
23           Plaintiffs were themselves negligent and careless in and about the matters and events set
24   forth in their complaint and said negligence contributed to their alleged injuries and/or damages. A
25   verdict of the jury in favor of Plaintiffs, if any, which may be rendered in this case, must therefore
26   be reduced by the percentage that Plaintiffs’ negligence contributed to the accident and injuries
27   complaint of, if any there were.
28   ///
                                                         14
                         ANSWER OF DEFENDANT PETER KIRITCHENKO TO COMPLAINT
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 1                                   FIFTH AFFIRMATIVE DEFENSE
 2          AS AND FOR A FIFTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
 3   ALLEGES:
 4          Any alleged discrimination was not arbitrary or intentional.
 5                                  SIXTH AFFIRMATIVE DEFENSE
 6          AS AND FOR A SIXTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
 7   ALLEGES:
 8          One or more Plaintiffs may not be a “qualified individual with a disability”.
 9                                SEVENTH AFFIRMATIVE DEFENSE
10          AS AND FOR A SEVENTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
11   ALLEGES:
12          The Complaint and each of its causes of action are barred by the equitable doctrines of
13   unclean hands, estoppel and waiver.
14                                 EIGHTH AFFIRMATIVE DEFENSE
15          AS AND FOR AN EIGHTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
16   ALLEGES:
17          Defendant asserts that their alleged refusal to allow access, if any, was not discriminatory,
18   but was caused by the structure of the building(s) and by the fact that Plaintiffs’ special needs
19   prevented them admission to a building without construction, alteration or modification that is not
20   otherwise required by law [Civil Code section 51(d), 52(g)].
21                                  NINTH AFFIRMATIVE DEFENSE
22          AS AND FOR A NINTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
23   ALLEGES:
24          Plaintiffs were not discriminated against based solely on their alleged disabilities.
25                                  TENTH AFFIRMATIVE DEFENSE
26          AS AND FOR A TENTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
27   ALLEGES:
28          Plaintiffs do not face a real or immediate threat of substantial injury and are therefore not
                                                       15
                        ANSWER OF DEFENDANT PETER KIRITCHENKO TO COMPLAINT
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 1   entitled to injunctive relief.
 2                                    ELEVENTH AFFIRMATIVE DEFENSE
 3           AS AND FOR AN ELEVENTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
 4   ALLEGES:
 5           Based on information and belief, the subject facilities were constructed prior to July 1,
 6   1970.
 7                                      TWELFTH AFFIRMATIVE DEFENSE
 8           AS AND FOR A TWELFTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
 9   ALLEGES:
10           The removal of alleged barriers is not readily achievable.
11                                     THIRTEENTH AFFIRMATIVE DEFENSE
12           AS AND FOR A THIRTEENTH, SEPARATE AND DISTINCT DEFENSE,
13   DEFENDANT ALLEGES:
14           Plaintiffs are barred from any recovery herein as to this answering Defendant in that any
15   damages and injuries proven to have been sustained by the Plaintiffs herein would be the direct and
16   proximate result of the independent negligence and/or unlawful conduct of others, or their agents,
17   or employees, and not any act or omission on the part of this answering Defendant or its agents or
18   employees.
19                               FOURTEENTH AFFIRMATIVE DEFENSE
20           AS AND FOR A FOURTEENTH, SEPARATE AND DISTINCT DEFENSE,
21   DEFENDANT ALLEGES:
22           Defendant is entitled to exceptions from the literal requirements of the standards and
23   specifications pursuant to California Health & Safety Code § 19957.
24                                    FIFTEENTH AFFIRMATIVE DEFENSE
25           AS AND FOR A FIFTEENTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
26   ALLEGES:
27           When viewed in its entirety, the subject building and facilities are readily accessible to and
28   usable by individuals with disabilities.
                                                        16
                          ANSWER OF DEFENDANT PETER KIRITCHENKO TO COMPLAINT
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 1                                SIXTEENTH AFFIRMATIVE DEFENSE
 2           AS AND FOR A SIXTEENTH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
 3   ALLEGES:
 4           Health & Safety Code § 19955 et seq. does not provide a cause of action for damages
 5   independent of California Civil Code § 54 et seq.
 6                              SEVENTEENTH AFFIRMATIVE DEFENSE
 7           AS AND FOR A SEVENTEENTH, SEPARATE AND DISTINCT DEFENSE,
 8   DEFENDANT ALLEGES:
 9           One or more Plaintiffs lack standing.
10                               EIGHTEENTH AFFIRMATIVE DEFENSE
11           AS AND FOR AN EIGHTEENTH, SEPARATE AND DISTINCT DEFENSE,
12   DEFENDANT ALLEGES:
13           One or more Plaintiffs failed to satisfy the requirements of California Civil Code §§ 55.31.
14                               NINETEENTH AFFIRMATIVE DEFENSE
15           AS AND FOR A NINETEENTH, SEPARATE AND DISTINCT DEFENSE,
16   DEFENDANT ALLEGES:
17           Defendant is entitled to reduction in damages pursuant to the provisions of California Civil
18   Code § 55.56.
19                               TWENTIETH AFFIRMATIVE DEFENSE
20           AS AND FOR A TWENTIETH, SEPARATE AND DISTINCT DEFENSE, DEFENDANT
21   ALLEGES:
22           Plaintiffs’ Complaint fails to comply with the provisions of California Civil Procedure
23   § 425.50.
24                             TWENTY-FIRST AFFIRMATIVE DEFENSE
25           AS AND FOR A TWENTY-FIRST, SEPARATE AND DISTINCT DEFENSE,
26   DEFENDANT ALLEGES:
27           Plaintiffs’ request for injunctive relief is moot.
28   ///
                                                         17
                         ANSWER OF DEFENDANT PETER KIRITCHENKO TO COMPLAINT
                                       CASE NO. 3:14-CV-03622-JSC
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 1                           TWENTY-SECOND AFFIRMATIVE DEFENSE
 2          AS AND FOR A TWENTY-SECOND, SEPARATE AND DISTINCT DEFENSE,
 3   DEFENDANT ALLEGES:
 4          Defendants have insufficient knowledge or information upon which to form a belief as to
 5   whether it may have additional, as yet unstated, affirmative defenses. Defendant reserves the right
 6   to assert additional affirmative defenses in the event discovery indicates it would be appropriate.
 7                                                 PRAYER
 8          WHEREFORE Peter Kiritchenko pays for judgment as follows:
 9          1.      Plaintiffs take nothing by this action;
10          2.      A judgment or dismissal be entered in favor of Defendant Peter Kiritchenko;
11          3.      Defendant Peter Kiritchenko be awarded attorney fees and costs of suit incurred;
12                  and;
13          4.      Defendant Peter Kiritchenko be awarded any other and further relief the Court
14          considers proper.
15   Dated: October 24, 2014                       KELLER, SLOAN, ROMAN & HOLLAND LLP
16

17                                           By:        /s/ Thomas H. Sloan, Jr.
                                                   THOMAS H. SLOAN, JR.
18                                                 ATTORNEYS FOR DEFENDANT
                                                   PETER KIRITCHENKO
19

20

21                                         DEMAND FOR JURY TRIAL
22          Defendant Peter Kiritchenko hereby demands a jury trial of all issues in the above-captioned
23   action which are triable to a jury.
24   Dated: October 24, 2014                       KELLER, SLOAN, ROMAN & HOLLAND LLP
25

26                                           By:        /s/ Thomas H. Sloan, Jr.
                                                   THOMAS H. SLOAN, JR.
27                                                 ATTORNEYS FOR DEFENDANT
                                                   PETER KIRITCHENKO
28
                                                        18
                         ANSWER OF DEFENDANT PETER KIRITCHENKO TO COMPLAINT
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